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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


  CELGENE CORPORATION,

                    Plaintiff,                              Civil Action No. 18-461 (SDW)(LDW)

             V.                                             Hon. Susan D. Wigenton, U.S.D.J.
                                                            Hon. Leda D. Wettre, U.S.M.J.
  APOTEX INC.,

                   Defendant.


                                       CONSENT JUDGMENT

             WHEREAS Plaintiff Celgene Corporation (“Celgene”) brought this action against

  Apotex Inc. (“Apotex” or “Defendant”);

             WHEREAS Celgene asserted that, among other things, Apotex’s submission of ANDA

  No. 211022 infringes claim numbers 1-10 of U.S. Patent No. 7,855,217 (“Asserted Claims”) (see

  D.I. 1):

             THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

             1.    This Court has jurisdiction over the subject matter of the above-captioned action

  and personal jurisdiction over the parties;

             2.    The Asserted Claims are valid and enforceable;

             3.    Apotex’s product that is the subject of ANDA No. 211022 does not infringe any

  of the Asserted Claims;

             4.    Judgment of non-infringement is therefore entered in favor of Apotex and against

  Celgene as to Count VII (Infringement of the ‘217 Patent) of Celgene’s Complaint(D.l. l);

             5.    Count VII (Infringement of the ‘217 Patent) of Celgene’s Complaint (D.I. 1) is

  hereby dismissed with prejudice;
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           6.     Nothing herein shall extend to any other patents, claims, counterclaims, or

   affirmative defenses that have been asserted or could have been asserted in the above-referenced

   litigation.

           7.    Each party shall bear its own costs, expenses, and attorneys’ fees associated

   herewith, including in connection with proceedings on U.S. Patent No. 7,855,217.

           8.    This court retains jurisdiction to enforce or supervise performance under this

   Consent Judgment.




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   We hereby consent to the form and entry of this Judgment:

   Dated: April 26, 2019


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